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                            UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                    Case No. 16-md-02741-VC
LIABILITY LITIGATION

                                           ORDER GRANTING MOTIONS TO
This document relates to:                  MOVE CASES TO LATER WAVES
Garrott v. Monsanto Co.,                   Re: 16363–68, 16370–74, 16386,
Case No.: 3:19-cv-05063-VC
                                           16403–08, 16411, 16414, 16416–21
Glaze v. Monsanto Co.,
Case No.: 3:20-cv-00064-VC

Goik v. Monsanto Co.,
Case No.: 3:19-cv-04812-VC
Garrison v. Monsanto Co.,
Case No.: 3:19-cv-00280-VC

Gorman v. Monsanto Co.,
Case No.: 3:20-cv-01670-VC

Humphrey v. Monsanto Co.,
Case No.: 3:20-cv-04647-VC

Keeney v. Monsanto Co.,
Case No.: 3:20-cv-00433-VC

Kuehn v. Monsanto Co.,
Case No.: 3:20-cv-00669-VC

Johnson v. Monsanto Co.,
Case No.: 3:20-cv-01234-VC
Johnson v. Monsanto Co.,
Case No.: 3:19-cv-05095-VC
Boatright v. Monsanto Co.,
Case No.: 3:21-cv-00675-VC
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Jackson v. Monsanto Co.,
Case No.: 3:20-cv-08522-VC

Hochsteint v. Monsanto Co.,
Case No: 3:21-cv-00605-VC

Corbett v. Monsanto Co.,
Case No: 3:20-cv-00118-VC

Hueschenl v. Monsanto Co.,
Case No: 3:21-cv-04937-VC

Schroeder v. Monsanto Co.,
Case No: 3:20-cv-01275-VC

Slagle v. Monsanto Co.,
Case No: 3:20-cv-05964-VC

Stockdale v. Monsanto Co.,
Case No: 3:20-cv-06186-VC

Colton v. Monsanto Co., Case
No.: 3:20-cv-4834-VC

Perillo v. Monsanto Co., Case
No.: 3:21-cv-02550-VC

McCulloch v. Monsanto Co.,
Case No.: 3:20-cv-01672-VC

Moers v. Monsanto Co.,
Case No.: 3:20-cv-01671-VC

Moore v. Monsanto Co.,
Case No.: 3:19-cv-04974-VC

Rice v. Monsanto Co.,
Case No.: 3:19-cv-04941-VC

Rivera v. Monsanto Co.,
Case No.: 3:19-cv-04962-VC

Saunders v. Monsanto Co.,
Case No.: 3:19-cv-05053-VC




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       The above-listed motions to move cases to later waves are granted.

       IT IS SO ORDERED.



Dated: April 4, 2023
                                           ______________________________________
                                           VINCE CHHABRIA
                                           United States District Judge




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